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FoR THE WESTERN olsTRlcT or= TENNEss 1
WEsTERN DlvlsloN §§ JUL ‘8 PH l“ \3

 

uNlTED sTATEs OF AMERch G'%U¢§F' §HR§TM
Plaintiff
VS.
CR. NO. 04-20183-D
LISA SUE TERRY
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELA¥
AND SETT|NG

 

This cause came on for a report date on Ju ne 30, 2005. At that time, counsel for the
defendant requested a continuance of the Ju|y 5, 2005 trial date and requested a Change
of P|ea hearing date.

The Court granted the request and reset the trial date to August 1, 2005 with a
Chan e of P|ea hearin date of Thursda Ju| 21 2005 at 10:30 a.m., in Courtroom

 

3 9th Floor of the Federa| Building, Memphis, TN.

 

The period from Ju|y 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a speedy tria|.

lT |S SO ORDERED this §§ day of Ju|y, 2005.

    

B N|CE B. DO
N|TED STATES D|STR|CT JUDGE

This document entered on the docket sheet in compliance
with sale ss cma/or 32(b) irach on ' 0 d

/Zp/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 161 in
case 2:04-CR-20183 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

